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                            UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

NICHOLE DECELLES,

   Plaintiff,

-vs-                                               CASE NO.: 6:14-CV-00423-ORL-18TBS

WHETSTONE PARTNERS, LLC,
d/b/a/ ETITLELOAN,

   Defendant.


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COME NOW the Plaintiff, Nichole Decelles, and the Defendant, WHETSTONE

PARTNERS, LLC, d/b/a/ ETITLELOAN, jointly by and through their respective undersigned

counsel, hereby stipulate, pursuant to Rule 41(a)(1)(A)(ii), of the Fed. R. Civ. P., to the dismissal

of this case, with prejudice, each party to bear her or its own costs and attorneys' fees, and

request entry of an appropriate Order disposing of this case.



        Respectfully submitted this _24th __ day of _____October____, 2014.



/s/ Amanda J. Allen                                /s/ James B. Flanigan
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                                CERTIFICATE OF SERVICE

     I, Amanda Allen, hereby certify that on October __24th, 2014, I electronically filed the

foregoing with the Clerk of Court using the ECF system which sent notification of such filing to:

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